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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

PAUL LONG and KIANDRA LOVE,

                       Plaintiffs,

v.                                                            Case No: 6:18-cv-154-Orl-18DCI

BITCONNECT INTERNATIONAL,
PLC, BITCONNECT LTD,
BITCONNECT TRADING LTD and
RYAN MAASEN,

                       Defendants.


                              INTERESTED PERSONS ORDER
                                   FOR CIVIL CASES
       This Court makes an active effort to screen every case in order to identify parties and

interested corporations in which any assigned judge may be a shareholder, as well as for other

matters that might require consideration of recusal. It is therefore:

       ORDERED that, within fourteen days 1 from the date of this order (or from the date of

subsequent first appearance 2 in this action), each party, pro se party, governmental party,

intervenor, non-party movant, and Rule 69 garnishee shall file and serve a CERTIFICATE        OF

INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT in the following form:




       1
         If this order was served by mail, add three days to the prescribed period. Fed.R.Civ.P.
6. Service by facsimile constitutes a method of hand delivery for the purpose of computing the
time within which any response is required. Local Rule 1.07(c).
       2
         Every pleading or paper filed constitutes a general appearance of the party unless
otherwise specified. Local Rule 2.03(a).
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                               CERTIFICATE OF INTERESTED PERSONS
                              AND CORPORATE DISCLOSURE STATEMENT


         I hereby disclose the following pursuant to this Court’s interested persons order:

1.)    the name of each person, attorney, association of persons, firm, law firm, partnership,
and corporation that has or may have an interest in the outcome of this action — including
subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that own
10% or more of a party’s stock, and all other identifiable legal entities related to any party in the
case:

          [insert list]

2.)    the name of every other entity whose publicly-traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings:


         [insert list]

3.)    the name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or twenty largest
unsecured creditors) in bankruptcy cases:

          [insert list]

4.)    the name of each victim (individual or corporate) of civil and criminal conduct alleged
to be wrongful, including every person who may be entitled to restitution:


         [insert list]

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and
will immediately notify the Court in writing on learning of any such conflict.


[Date]                                                 _____________________________
                                                       [Counsel of Record or Pro Se Party]
                                                            [Address and Telephone]
[Certificate of Service]




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       It is FURTHER ORDERED that no party may seek discovery from any source before

filing and serving a CERTIFICATE       OF   INTERESTED PERSONS      AND   CORPORATE DISCLOSURE

STATEMENT.     A motion, memorandum, response, or other paper —               including emergency

motion — may be denied or stricken unless the filing party has previously filed and served its

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT.

       FURTHER ORDERED that each party has a continuing obligation to file and serve an

amended CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT within

fourteen days of 1) discovering any ground for amendment, including notice of case reassignment

to a different judicial officer; or 2) discovering any ground for recusal or disqualification of a

judicial officer. A party should not routinely list an assigned district judge or magistrate judge as

an “interested person” absent some non-judicial interest.

       FURTHER ORDERED that, in order to assist the Court in determining when a conflict

of interest may exist, particularly when ruling on matters formally assigned to another judge, each

party shall use the full caption of the case — including the names of all parties and intervenors

—    on all motions, memoranda, papers, and proposed orders submitted to the Clerk.               See

Fed.R.Civ.P. 10(a); Local Rule 1.05(b) (“et al.” discouraged).

         ROY B. DALTON, JR.                                        PAUL G. BYRON
          Roy B. Dalton, Jr. [37]                                  Paul G. Byron [40]
        United States District Judge                           United States District Judge

         CARLOS E. MENDOZA
          Carlos E. Mendoza [41]
        United States District Judge

          G. KENDALL SHARP                                      PATRICIA C. FAWSETT
           G. Kendall Sharp [18]                                 Patricia C. Fawsett [19]
     Senior United States District Judge                    Senior United States District Judge

        GREGORY A. PRESNELL                                        JOHN ANTOON II
          Gregory A. Presnell [31]                                 John Antoon II [28]
     Senior United States District Judge                    Senior United States District Judge


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          ANNE C. CONWAY
          Anne C. Conway [22]
    Senior United States District Judge

        KARLA R. SPAULDING                         GREGORY J. KELLY
       Karla R. Spaulding [KRS]                    Gregory J. Kelly [GJK]
      United States Magistrate Judge            United States Magistrate Judge

          THOMAS B. SMITH                            DANIEL C. IRICK
        Thomas B. Smith [TBS]                       Daniel C. Irick [DCI]
      United States Magistrate Judge            United States Magistrate Judge

           DAVID A. BAKER
         David A. Baker [DAB]
      United States Magistrate Judge


January 31, 2018

Copies to:    All Counsel of Record
              All Pro Se Parties




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